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          TM

   May 27, 2021

            West Palm Beach                                     CASE NO. 21-8212-BER
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         4.      On January 6, 2021, a Joint Session of the United States House of Representatives

  and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the

  Capitol”) building. The purpose of the Joint Session was to open, count, and resolve any objections

  to the Electoral College vote of the 2020 U.S. Presidential Election, and to certify the results of

  the Electoral College vote (“Certification of the Electoral College vote”) as set out in the Twelfth

  Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

                          The Attack at the U.S. Capitol on January 6, 2021

         5.      The Capitol is secured 24 hours a day by United States Capitol Police (“Capitol

  Police”). The Capitol Police maintain permanent and temporary barriers to restrict access to the

  Capitol exterior, and only authorized individuals with appropriate identification are allowed inside

  the Capitol building.

         6.      On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

  Capitol building for the Certification of the Electoral College vote. Vice President Michael R.

  Pence, in his constitutional duty as President of the Senate, presided over the Joint Session.

         7.      A large crowd began to gather outside the Capitol perimeter as the Joint Session

  got underway. Crowd members eventually forced their way through, up, and over Capitol Police

  barricades and advanced to the building’s exterior façade. Capitol Police officers attempted to

  maintain order and stop the crowd from entering the Capitol building, to which the doors and

  windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members

  forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting

  Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.

  The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member

  submitted to security screenings or weapons checks by Capitol Police or other security officials.




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         8.      Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate

  (including Vice President Pence)—who had withdrawn to separate chambers to resolve an

  objection—were evacuated from their respective chambers. The Joint Session was halted while

  Capitol Police and other law-enforcement officers worked to restore order and clear the Capitol of

  the unlawful occupants.

         9.      Later that night, law enforcement regained control of the Capitol. At approximately

  8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained

  hidden within the Capitol building throughout these events.

         10.     In the course of these events, over 100 members of law enforcement were assaulted.

  The Capitol suffered millions of dollars in damage—including broken windows and doors, graffiti,

  and residue from pepper spray, tear gas, and fire extinguishers deployed both by crowd members

  who stormed the Capitol and by Capitol Police officers trying to restore order. Additionally, many

  media members were assaulted and had cameras and other news-gathering equipment destroyed.

                                     The Oath Keepers Militia

         11.     Members and affiliates of an organization known as the Oath Keepers were among

  the individuals and groups who forcibly entered the Capitol on January 6, 2021. The Oath Keepers

  are a large but loosely organized collection of individuals, some of whom are associated with

  militias. Some members of the Oath Keepers believe that the federal government has been coopted

  by a cabal of elites actively trying to strip American citizens of their rights. Though the Oath

  Keepers will accept anyone as members, they explicitly focus on recruiting current and former

  military, law enforcement, and first-responder personnel. The organization’s name alludes to the

  oath sworn by members of the military and police to defend the Constitution “from all enemies,

  foreign and domestic.” The Oath Keepers are led by PERSON ONE.




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         12.       On January 4, 2021, PERSON ONE posted an article to the Oath Keepers website

  encouraging Oath Keeper members and affiliates to go to Washington, D.C., for the events of

  January 5-6, 2021, stating: “It is CRITICAL that all patriots who can be in DC get to DC to stand

  tall in support of President Trump’s fight to defeat the enemies foreign and domestic who are

  attempting a coup, through the massive vote fraud and related attacks on our Republic. We Oath

  Keepers are both honor-bound and eager to be there in strength to do our part.”

         13.       In his January 4 post, PERSON ONE also observed: “As we have done on all recent

  DC Ops, we will also have well armed and equipped QRF 1 teams on standby, outside DC, in the

  event of a worst case scenario, where the President calls us up as part of the militia to to assist him

  inside DC. We don’t expect a need for him to call on us for that at this time, but we stand ready if

  he does (and we also stand ready to answer the call to serve as militia anytime in the future, and

  anywhere in our nation, if he does invoke the Insurrection Act).”

         14.       PERSON ONE named PERSON TEN to be the leader of his group’s operations in

  Washington, D.C., on January 6, 2021.

                                         Conspirators

         15.       THOMAS CALDWELL was a 65-year-old resident of Berryville, Virginia. 2

  CALDWELL used the monikers “CAG,” “Spy,” and “CAG Spy.”

         16.       DONOVAN CROWL was a 50-year-old resident of Woodstock, Ohio.

         17.       JESSICA WATKINS was a 38-year-old resident of Woodstock, Ohio.

         18.       SANDRA PARKER was a 60-year-old resident of Morrow, Ohio, and the wife of

  BENNIE PARKER.


         1
             Based on the investigation, “QRF” appears to refer to “quick reaction force.”
         2
             The ages and residences listed herein are as of January 6, 2021.


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        19.    BENNIE PARKER was a 70-year-old resident of Morrow, Ohio, and the husband

  of SANDRA PARKER.

        20.    GRAYDON YOUNG was a 54-year-old resident of Englewood, Florida, and the

  brother of LAURA STEELE. YOUNG used the moniker “GenXPatriot.”

        21.    LAURA STEELE was a 52-year-old resident of Thomasville, North Carolina, and

  the sister of YOUNG.

        22.    KELLY MEGGS was a 52-year-old resident of Dunnellon, Florida, and the

  husband of CONNIE MEGGS. KELLY MEGGS used the moniker “Gator 1” or “OK Gator 1.”

        23.    CONNIE MEGGS was a 59-year-old resident of Dunnellon, Florida, and the wife

  of KELLY MEGGS.

        24.    KENNETH HARRELSON was a 40-year-old resident of Titusville, Florida.

  HARRELSON used the moniker “Gator 6.”

        25.    ROBERTO MINUTA was a 36-year-old resident of Prosper, Texas.

        26.    JOSHUA JAMES was a 33-year-old resident of Arab, Alabama. JAMES used the

  moniker “Hydro.”

        27.



        28.    JOSEPH HACKETT was a 50-year-old resident of Sarasota, Florida. HACKETT

  used the moniker “Ahab.”

        29.    JASON DOLAN was a 44-year-old resident of Wellington, Florida. DOLAN used

  the moniker “Turmoil.”

        30.    WILLIAM ISAACS was a 21-year-old resident of Kissimmee, Florida.




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                                         COUNT ONE
                                  (Conspiracy—18 U.S.C. § 371)

         31.     The introductory allegations set forth in paragraphs 1 through 30 are re-alleged and

  incorporated by reference as though set forth herein.

                                          The Conspiracy

         32.     From at least as early as November 3, 2020, through January 6, 2021, in the District

  of Columbia and elsewhere, the defendants,

                                     THOMAS CALDWELL,
                                      DONOVAN CROWL,
                                      JESSICA WATKINS,
                                       SANDRA PARKER,
                                       BENNIE PARKER,
                                      GRAYDON YOUNG,
                                        LAURA STEELE,
                                        KELLY MEGGS,
                                        CONNIE MEGGS,
                                    KENNETH HARRELSON,
                                      ROBERTO MINUTA,
                                        JOSHUA JAMES,
                                                       ,
                                      JOSEPH HACKETT,
                                      JASON DOLAN, and
                                       WILLIAM ISAACS,

  did knowingly combine, conspire, confederate, and agree with each other and others known and

  unknown, to commit an offense against the United States, namely, to corruptly obstruct, influence,

  and impede an official proceeding, that is, the Certification of the Electoral College vote, in

  violation of Title 18, United States Code, Section 1512(c)(2).

                                     Purpose of the Conspiracy

         33.     The purpose of the conspiracy was to stop, delay, and hinder the Certification of

  the Electoral College vote.




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                                         Manner and Means

         34.      CALDWELL, CROWL, WATKINS, SANDRA PARKER, BENNIE PARKER,

  YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, MINUTA, JAMES,

               HACKETT, DOLAN, and ISAACS, with others known and unknown, carried out the

  conspiracy through the following manner and means, among others, by:

               a. Agreeing to participate in and planning an operation to interfere with the

                  Certification of the Electoral College vote on January 6, 2021 (the “January 6

                  operation”);

               b. Attending or scheduling trainings to teach and learn paramilitary combat tactics in

                  advance of the January 6 operation;

               c. Using websites, social media, text messaging, and messaging applications to recruit

                  other individuals to travel to Washington, D.C., to support the January 6 operation;

               d. Coordinating in advance with others, including members of the Oath Keepers from

                  other regions, and joining forces with these individuals and groups to further the

                  January 6 operation;

               e. Traveling to Washington, D.C., for the January 6 operation;

               f. Bringing and contributing paramilitary gear and supplies—including firearms,

                  camouflaged combat uniforms, tactical vests with plates, helmets, eye protection,

                  and radio equipment—for the January 6 operation;

               g. Donning clothes with the Oath Keepers insignia for the January 6 operation;

               h. Changing into paramilitary gear—including helmets—before participating in the

                  January 6 operation;




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               i. Moving together in a military “stack” formation while utilizing hand signals to

                  maintain communication and coordination while advancing toward the Capitol as

                  part of the January 6 operation;

               j. Forcibly storming past exterior barricades, Capitol Police, and other law

                  enforcement officers, and entering the Capitol in executing the January 6 operation;

                  and

               k. Using secure and encrypted communications applications like Signal 3 and Zello 4

                  to develop plans and later communicate during the January 6 operation.

                                              Overt Acts
                                     Planning for January 6, 2021

         35.      At a GoToMeeting 5 held on November 9, 2020, PERSON ONE told those attending

  the meeting, “We’re going to defend the president, the duly elected president, and we call on him

  to do what needs to be done to save our country. Because if you don’t guys, you’re going to be in

  a bloody, bloody civil war, and a bloody – you can call it an insurrection or you can call it a war

  or fight.” PERSON ONE called upon his followers to go to Washington, D.C., to let the President

  know “that the people are behind him.” PERSON ONE told his followers they needed to be

  prepared to fight Antifa, which he characterized as a group of individuals with whom “if the fight

  comes, let the fight come. Let Antifa – if they go kinetic on us, then we’ll go kinetic back on them.

  I’m willing to sacrifice myself for that. Let the fight start there. That will give President Trump


         3
             Signal is an encrypted messaging service.
         4
          Zello is an application that emulates push-to-talk walkie-talkies over cellular telephone
  networks. Zello can be used on electronic communication devices, like cellular telephones and
  two-way radios.
         5
           GoToMeeting is an online meeting site that allows users to host conference calls and
  video conferences via the Internet in real time.


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  what he needs, frankly. If things go kinetic, good. If they throw bombs at us and shoot us, great,

  because that brings the president his reason and rationale for dropping the Insurrection Act.”

  PERSON ONE continued, “I do want some Oath Keepers to stay on the outside, and to stay fully

  armed and prepared to go in armed, if they have to . . . . So our posture’s gonna be that we’re

  posted outside of DC, um, awaiting the President’s orders. . . . We hope he will give us the orders.

  We want him to declare an insurrection, and to call us up as the militia.” WATKINS, KELLY

  MEGGS, HARRELSON, HACKETT, PERSON THREE, PERSON TEN, and others known and

  unknown attended this GoToMeeting. After PERSON ONE finished speaking, WATKINS and

  KELLY MEGGS asked questions and made comments about what types of weapons were legal in

  the District of Columbia.

         36.     On November 9, 2020, WATKINS, the self-described “C.O. [Commanding

  Officer] of the Ohio State Regular Militia,” sent text messages to recruit a number of individuals

  who had expressed interest in joining the Ohio State Regular Militia.          In these messages,

  WATKINS mentioned, among other things, that the militia had a week-long “Basic Training class

  coming up in the beginning of January,” and told one recruit, “I need you fighting fit by

  innaugeration.” In describing the program to PERSON TEN, WATKINS said, “It’s a military

  style basic, here in Ohio, with a Marine Drill Sergeant running it. An hour north of Columbus

  Ohio[.]”

         37.     On November 9, 2020, WATKINS asked a recruit if he could “download an App

  called Zello” and stated, “We all use Zello though for operations.”

         38.     On November 17, 2020, when a recruit asked WATKINS for her predictions for

  2021, WATKINS replied, among other statements:




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         I can’t predict. I don’t underestimate the resolve of the Deep State. Biden may still
         yet be our President. If he is, our way of life as we know it is over. Our Republic
         would be over. Then it is our duty as Americans to fight, kill and die for our rights.

  and:

         [I]f Biden get the steal, none of us have a chance in my mind. We already have our
         neck in the noose. They just haven’t kicked the chair yet.

         39.     On November 23, 2020, CALDWELL sent a text message to WATKINS stating:

         Hi, CAP! Wanted to tell you it was great to have you here in Virginia. Don’t know
         what [PERSON ONE] is cooking up but I am hearing rumblings of another Maga
         March 12 December. 6 I don’t know what will happen but like you I am very
         worried about the future of our country. Once lawyers get involved all of us normal
         people get screwed. I believe we will have to get violent to stop this, especially the
         antifa maggots who are sure to come out en masse even if we get the Prez for 4
         more years. Stay sharp and we will meet again. You are my kinda person and we
         may have to fight next time. I have my own gear, I like to be ON TIME and go
         where the enemy is, especially after dark. Keep the faith! Spy.

         40.     On December 3, 2020, YOUNG emailed the Florida chapter of the Oath Keepers a

  membership application and wrote, “looking to get involved in helping….”

         41.     On December 19, 2020, HACKETT sent an email to YOUNG with a subject line

  “test.” The body of the email stated: “I believe we only need to do this when important info is at

  hand like locations, identities, Ops planning.” The email had a photo attached; the photo showed

  cursive handwriting on a lined notepad that stated: “Secure Comms Test. Good talk tonight guys!

  Rally Point in Northern Port Charlotte at Grays if transportation is possible. All proton mails.7




         6
          An event colloquially referred to as the “Million MAGA March” occurred in Washington,
  D.C., on November 14, 2020. A similar event occurred in Washington, D.C., on December 12,
  2020.
         7
          Based on the investigation, “proton mails” appears to refer to the company “ProtonMail,”
  which offers encrypted email services.


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  May consider an RP 8 that won’t burn anyone. Comms – work in progress. Messages in cursive

  to eliminate digital reads. Plans for recruitment and meetings.”

           42.       On December 19, 2020, YOUNG wrote to a Facebook group: “Please check out

  Oath Keepers as a means to get more involved. Recruiting is under way. DM me if you want

  more info.”

           43.       On December 22, 2020, YOUNG made plans to fly from Florida to North Carolina

  on January 4, 2021, with a return trip on January 8, 2021.

           44.       On December 22, 2020, KELLY MEGGS wrote a series of messages on Facebook

  to another individual that read in part:

                 a. “Trump said It’s gonna be wild!!!!!!!     It’s gonna be wild!!!!!!! He wants us to

                     make it WILD that’s what he’s saying. He called us all to the Capitol and wants us

                     to make it wild!!! Sir Yes Sir!!! Gentlemen we are heading to DC pack your shit!!”

                 b. “Nice, we will have at least 50-100 OK 9 there.”

           45.       On December 25, 2020, KELLY MEGGS wrote a message on Facebook that said

  in relevant part: “I was named State lead of Florida today.”

           46.       On December 25, 2020, KELLY MEGGS wrote a message on Facebook that said

  in relevant part: “We are all staying in DC near the Capitol we are at the Hilton garden inn but I

  think it’s full. Dc is no guns. So mace and gas masks, some batons. If you have armor that’s

  good.”

           47.       On December 26, 2020, YOUNG wrote an email to a Florida company that

  conducts training on firearms and combat. YOUNG wrote, in part, “I trained with you not long


           8
               Based on the investigation, “RP” appears to refer to “rally point.”
           9
               Based on the investigation, “OK” appears to refer to “Oath Keepers.”


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  ago. Since then I have joined Oath Keepers. I recommended your training to the team. To that

  effect, four of us would like to train with you, specifically in your UTM 10 rifle class.”

         48.       On December 26 and 27, 2020, WATKINS and BENNIE PARKER exchanged text

  messages relating to preparations for the trip to Washington, D.C., on January 6, 2021. BENNIE

  PARKER also texted WATKINS, “I may have to see what it takes to join your militia, ours is

  about gone.”

         49.       On December 29, 2020, WATKINS sent text messages to CROWL sharing her

  plans to go to Washington, D.C., for the events of January 6, 2021.

         50.       On December 29 and 30, 2020, WATKINS and BENNIE PARKER exchanged text

  messages in which they discussed Oath Keeper membership and meeting in advance to prepare for

  the trip to Washington, D.C., on January 6, 2021.

         51.       On December 30, 2020, CALDWELL wrote in a Facebook post: “THIS IS OUR

  CALL TO ACTION, FREINDS! SEE YOU ON THE 6TH IN WASHINGTON, D.C. ALONG

  WITH 2 MILLION OTHER LIKE-MINDED PATRIOTS.”

         52.       On December 30, 2020, WATKINS and CALDWELL exchanged the following

  text messages:

         WATKINS:         Looks like we are greenlight to come to DC on the 6th. The Rally
                          Point still at your place?

         CALDWELL: Not that I am aware. Have been contacted by NO ONE. Typical
                   [PERSON ONE]. Here’s the rub: [PERSON TWO] and I will be in
                   a hotel within striking distance of the city starting on the 4th so we
                   won’t even BE here. There will be some stuff going on during the
                   5th and we want to be a part of that whenever it shakes out. Also
                   we want to be in D.C. very early on the 6th, hence closer/virtually
                   no commute time.



         10
              Based on the investigation, “UTM” appears to refer to “Ultimate Training Munitions.”


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         WATKINS:        We planned on arriving on the 5th. We want to be in DC by 9am on
                         the 6th. I will reach out to [PERSON THREE], and see if NC boys
                         are coming. If [PERSON ONE] isn’t making plans, I’ll take charge
                         myself, and get the ball rolling. I think the Metro is smarter than
                         convoy/parking issues. Do you want us to stage ourselves vehicles
                         elsewhere, seeing how you’re going to be gone? We can go to a
                         KOA Campground or something...

         ...

         CALDWELL (about two hours later):

                         Talked to [PERSON THREE]. At least one full bus 40+ people
                         coming from N.C. Another group (unclear if Mississippi guys) also
                         a bus. Busses have their own lane on the 14th street bridge so they
                         will be able to get in and out. [PERSON THREE] is driving plus 1
                         and arriving nite before. As we speak he is trying to book a room at
                         Comfort Inn Ballston/Arlington because of its close-in location and
                         easy access to downtown because he feels 1) he’s too broken down
                         to be on the ground all day and 2) he is committed to being the quick
                         reaction force anf bringing the tools if something goes to hell. That
                         way the boys don’t have to try to schlep weps on the bus. He’ll
                         bring them in his truck day before. Just got a text from him he WAS
                         able to book a room in that hotel I recommended which is on Glebe
                         Road in Arlington. However it goes it will be great to see you again!
                         I sure hope your arm is getting better!

         53.     On December 31, 2020, CALDWELL replied to a Facebook comment, writing, “It

  begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the streets. Let them try to

  certify some crud on capitol hill with a million or more patriots in the streets. This kettle is set to

  boil…”

         54.     On December 31, 2020, when invited to a “leadership only” conference call on

  Signal for the “DC op,” WATKINS said she would try to make it if her work obligations permitted.

         55.     At least as early as December 31, 2020, WATKINS, KELLY MEGGS, JAMES,

  MINUTA, PERSON ONE, PERSON THREE, PERSON TEN, and others known and unknown

  joined an invitation-only encrypted Signal group message titled “DC OP: Jan 6 21” (hereinafter

  the “Leadership Signal Chat”).



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         56.    On December 31, 2020, KELLY MEGGS wrote a series of messages to another

  person on Facebook that said, “You guys Gonna carry?” and “Ok we aren’t either, we have a heavy

  QRF 10 Min out though.”

         57.    On December 31, 2020, another individual contacted JAMES via Signal and stated:

  “i have friends not far from DC with a lot of weapons and ammo if you get un trouble i ca.

  Coordinate help.” JAMES responded, “That might be helpful, but we have a shitload of QRF on

  standby with an arsenal.”

         58.    On December 31, 2020, KELLY MEGGS and JAMES attended a 4-participant

  GoToMeeting titled “SE leaders dc 1/6/21 op call.” KELLY MEGGS was the organizer of the

  meeting.

         59.    On December 31, 2020, KELLY MEGGS and HARRELSON attended a

  GoToMeeting titled “florida dc op planning chat.” HARRELSON was the organizer of the

  meeting, which had about 15 participants.

         60.    On December 31, 2020, JAMES messaged PERSON NINETEEN and asked, “Do

  we have a farm location for weapons?” PERSON NINETEEN responded, “Not that I am aware

  of yet. If nothing else, my hotel is in VA and has secured underground parking. About 15-20

  minutes outside DC, less if you really don’t care about speed limits… would be great if we had

  someone with an enclosed truck type vehicle and had a quick response unit just outside the city.”

  JAMES replied, “I agree.”

         61.    On January 1, 2021, PERSON FOURTEEN messaged JAMES on Signal and

  asked, “Hey we told to bring guns and maybe stage them in VA?? But you are showing hotels in

  DC for Alabama. Are we bring guns or no if so how will that work?” JAMES responded, “Were

  working on a Farm location Some are bringing long rifles some sidearms… I’m bringing sidearm.”




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         62.     On January 1, 2021, CALDWELL replied to a Facebook comment, writing, “I

  accept that assignment! I swore to support and defend the Constitution of the United States against

  all enemies foreign and domestic. I did the former, I have done the latter peacefully but they have

  morphed into pure evil even blatantly rigging an election and paying off the political caste. We

  must smite them now and drive them down.”

         63.     On January 1, 2021, CROWL sent CALDWELL a Facebook message stating,

  “Happy New year, to you Sir!!        Guess I’ll be seeing you soon.       Will probably call you

  tomorrow…mainly because…I like to know wtf plan is. You are the man Commander.”

         64.     On January 1, 2021, CALDWELL wrote to CROWL, “Check with Cap.                      I

  recommended the following hotel to her which STILL has rooms (unbelieveble).” CALDWELL

  then sent a link to the Comfort Inn Ballston, the same hotel that he recommended to others on

  January 1. CALDWELL continued, “[PERSON TWO] and I are setting up shop there. [PERSON

  THREE] has a room and is bringing someone. He will be the quick reaction force. Its going to be

  cold. We need a place to spend the night before minimum. [PERSON ONE] never contacted me

  so [PERSON TWO] and I are going our way. I will probably do pre-strike on the 5th though there

  are things going on that day. Maybe can do some night hunting. Oathkeeper friends from North

  Carolina are taking commercial buses up early in the morning on the 6th and back same night.

  [PERSON THREE] will have the goodies in case things go bad and we need to get heavy.”

         65.     On January 1, 2021, CROWL and WATKINS made plans to travel by car to

  Washington, D.C., to attend the events of January 5-6, 2021.

         66.     Beginning on January 1, and continuing into January 2, 2021, CALDWELL and

  CROWL exchanged messages about the hotel where they planned to stay in Arlington, Virginia,

  and CALDWELL told CROWL: “This is a good location and would allow us to hunt at night if




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  we wanted to. I don’t know if [PERSON ONE] has even gotten out his call to arms but its a little

  friggin late. This is one we are doing on our own. We will link up with the north carolina crew.”

         67.     On January 2, 2021, PERSON FIFTEEN messaged JAMES on Signal and asked,

  “So, I guess I am taking full gear less weapons? Just reading through all the posts. Would rather

  have it and not need it.” JAMES responded, “Yeah full gear... QRF will have weapons Just leave

  em home.”

         68.     On the evening of January 2, 2021, at about 5:43 p.m., KELLY MEGGS posted a

  map of Washington, D.C., in the Leadership Signal Chat, along with the message, “1 if by land[,]

  North side of Lincoln Memorial[,] 2 if by sea[,] Corner of west basin and Ohio is a water transport

  landing !!” KELLY MEGGS continued, “QRF rally points[.] Water of the bridges get closed.”

         69.     On January 3, 2021, STEELE emailed the Florida chapter of the Oath Keepers a

  membership application and wrote, “My brother, Graydon Young told me to submit my application

  this route to expedite the process.” Later in the day, STEELE emailed KELLY MEGGS and wrote,

  “My brother, Graydon Young told me to send the application to you so I can be verified for the

  Events this coming Tuesday and Wednesday.” The following day, STEELE sent an email to an

  Oath Keepers address, copying both YOUNG and KELLY MEGGS, attaching her Florida Oath

  Keepers membership application and vetting form, and writing, “I was just requested to send my

  documents to this email.”

         70.     On January 3, 2021, WATKINS sent CROWL a Facebook message stating,

  “Running a bit behind. I’ll txt when I’m back at the bar. Getting supplies for DC.”

         71.     On January 3, 2021, WATKINS and BENNIE PARKER discussed the uniforms,

  gear, and weapons they would wear and bring on January 6, 2021:

                 WATKINS to BENNIE PARKER:                    We are not bringing firearms. QRF
                                                              will be our Law Enforcement



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                                                                members of Oathkeepers.
                 BENNIE PARKER to WATKINS:                      Good to know.

                 WATKINS to BENNIE PARKER:                      Pack Khaki/Tan pants. Weapons are
                                                                ok now as well. Sorry for the
                                                                confusion. We are packing the car
                                                                and heading your way shortly

                 BENNIE PARKER to WATKINS:                      We don’t have any khakis We have
                                                                jeans and our b d u’s 11 So I can bring
                                                                my gun?
         72.     On January 3, 2021, KELLY MEGGS and HARRELSON served as two of the

  three “organizers” of an 18-participant GoToMeeting titled “dc planning call.”

         73.     At least as early as January 3, 2021, WATKINS, KELLY MEGGS, YOUNG,

  HARRELSON, HACKETT, DOLAN, ISAACS, and others known and unknown joined an

  invitation-only encrypted Signal group message titled “OK FL DC OP Jan 6” (hereinafter the

  “Florida Signal Chat”).

         74.     On January 3, 2021, KELLY MEGGS added HARRELSON to the Leadership

  Signal Chat, and wrote that HARRELSON would serve as the “Ground Team lead in Florida.”

         75.     On January 4, 2021, CALDWELL emailed PERSON THREE several maps along

  with the message, “These maps walk you from the hotel into D.C. and east toward the target area

  on multiple roads running west to east including M street and P street, two of my favorites . . . .”

         76.




         11
           Based on the investigation, “B.D.U.” appears to be a military reference to the Battle
  Dress Uniform, which is a camouflaged combat uniform.


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         77.




                    Travel to Washington, D.C., for the January 6 Operation

         78.    On January 4, 2021, KELLY MEGGS wrote in the Florida Signal Chat, “Rally 3

  pm if possible and need location DM but only those who will caravan.”

         79.    On January 4, 2021, HARRELSON and DOLAN departed Florida together in a

  vehicle rented by DOLAN and traveled to the Washington, D.C., metropolitan area.

         80.    On January 4, 2021, YOUNG took a flight from Sarasota, Florida, to Greensboro,

  North Carolina.

         81.    On January 4, 2021, CROWL, WATKINS, SANDRA PARKER, and BENNIE

  PARKER departed Ohio together and traveled to Northern Virginia, where they spent the night.

         82.    On January 4, 2021, PERSON TEN checked into the Hilton Garden Inn in Vienna,

  Virginia. The room was reserved and paid for using a credit card in PERSON ONE’s name.

         83.    On January 4, 2021, WATKINS wrote in the Florida Signal Chat, “Where can we

  drop off weapons to the QRF team? I’d like to have the weapons secured prior to the Op

  tomorrow.”

         84.    On the morning of January 5, 2021, HARRELSON asked in the Florida Signal Chat

  for the location of the “QRF hotel,” and KELLY MEGGS responded by asking for a direct

  message.




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         85.      On January 5, 2021, PERSON ONE and MINUTA separately traveled to the

  Washington, D.C., metropolitan area and checked into the Hilton Garden Inn in Vienna, Virginia.

         86.      On January 5, 2021, YOUNG and STEELE departed North Carolina with others

  known and unknown and traveled to the Washington D.C., metropolitan area and checked into the

  Holiday Inn in Springfield, Virginia.

         87.      CALDWELL paid for a room for two people at the Comfort Inn Ballston from

  January 5-7, 2021.

         88.      WATKINS paid for a room for two people at the Comfort Inn Ballston—the hotel

  recommended by CALDWELL—from January 5-7, 2021, and reserved it under the name “Jessica

  Wagkins.”

         89.      SANDRA PARKER paid for a room for two people at the Comfort Inn Ballston

  from January 5-7, 2021.

         90.      KELLY MEGGS paid for two rooms, each for two people, at the Comfort Inn

  Ballston from January 5-6, 2021. The rooms were reserved under the name of PERSON THREE.

         91.      KELLY MEGGS also booked two rooms at the Hilton Garden Inn in Washington,

  D.C., from January 5-7, 2021. KELLY MEGGS paid for both of the rooms, using two different

  credit cards.

         92.      YOUNG paid for a room for two people at the Holiday Inn in Springfield, Virginia,

  from January 5-6, 2021.

         93.      HACKETT paid for a room at the Hilton Garden Inn in Washington, D.C., from

  January 5-7, 2021. The room was booked in the name of PERSON SIXTEEN.

         94.      DOLAN booked and paid for a room at the Hilton Garden Inn in Washington, D.C.,

  from January 5-7, 2021.




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         95.    MINUTA, using his personal email address and his personal home address,

  reserved three rooms at the Mayflower Hotel in Washington, D.C., under the names of MINUTA,

  JAMES, and PERSON TWENTY. A debit card associated with PERSON FIFTEEN was used to

  pay for the room reserved under MINUTA’s name. A credit card associated with JAMES was

  used to pay for the room reserved under JAMES’s name.

         96.



                                     The January 6 Operation

         97.    On the morning of January 6, 2021, YOUNG and STEELE traveled together from

  Springfield, Virginia, to Washington, D.C.

         98.    On the morning of January 6, 2021, CROWL, WATKINS, CALDWELL,

  SANDRA PARKER, and BENNIE PARKER, traveled from Arlington, Virginia, to Washington,

  D.C.

         99.




         100.   At 11:21 a.m., PERSON ONE placed a phone call to KELLY MEGGS, which

  lasted 51 seconds.

         101.   At or around this time, CROWL, WATKINS, SANDRA PARKER, BENNIE

  PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, and HACKETT prepared

  themselves for battle before heading to the Capitol by equipping themselves with communication

  devices and donning reinforced vests, helmets, and goggles.




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          110.    At 2:00 p.m., JAMES placed a phone call to PERSON TEN, which lasted

  approximately 1 minute and 12 seconds.

          111.    At 2:00 p.m., WATKINS stated on the “Stop the Steal J6” Zello channel, “Y’all,

  we’re one block away from the Capitol right now. I’m probably gonna go silent when we get

  there, because I’m gonna be a little busy.”

          112.    At 2:01 p.m., PERSON TEN placed a phone call to PERSON ONE, which lasted

  approximately 1 minute and 41 seconds.

          113.    At 2:03 p.m., PERSON TEN placed a phone call to JAMES, which lasted

  approximately 39 seconds. About 1 minute later, JAMES placed a phone call to PERSON TEN,

  which lasted approximately 3 minutes and 36 seconds.

          114.    At 2:03 p.m., the administrator of the “Stop the Steal J6” Zello channel directed the

  group, “You are executing citizen’s arrest. Arrest this assembly, we have probable cause for acts

  of treason, election fraud . . . .”

          115.    At 2:06 p.m., PERSON ONE sent another message to the Leadership Signal Chat

  asking for PERSON TEN’s location before stating, “I’m trying to get to you.”

          116.    At 2:06 p.m., CALDWELL sent WATKINS a text message stating: “Where are

  you? Pence has punked out. We are screwed. Teargassing peaceful protesters at capital steps.

  Getting rowdy here... I am here at the dry fountain to the left of the Capitol[.]”

          117.    At 2:07 p.m., JAMES placed a phone call to PERSON TEN, which lasted

  approximately 30 seconds, followed by an approximately 55-second phone call at 2:10 p.m.

          118.    At 2:13 p.m., PERSON TEN placed a phone call to JAMES, which lasted

  approximately 43 seconds.




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         119.       At 2:14 p.m., PERSON TEN wrote to the Leadership Signal Chat, “The have taken

  ground at the capital[.] We need to regroup any members who are not on mission.”

         120.       At 2:15 p.m., PERSON ONE placed a phone call to KELLY MEGGS, which lasted

  approximately 15 seconds.

         121.       At 2:16 p.m., PERSON TEN placed a phone call to JAMES, which lasted

  approximately 42 seconds.

         122.       At 2:21 p.m., HARRELSON and DOLAN joined the crowd on the central east steps

  of the Capitol.

         123.       At 2:24 p.m., KELLY MEGGS placed a phone call to PERSON ONE, which lasted

  approximately 2 seconds.

         124.       At 2:25 p.m., PERSON ONE forwarded PERSON TEN’s message (“The have

  taken ground at the capital[.] We need to regroup any members who are not on mission.”) to the

  Leadership Signal Chat and instructed: “Come to South Side of Capitol on steps” and then sent a

  photograph showing the southeast side of the Capitol.

         125.       At 2:28 p.m., CROWL, WATKINS, SANDRA PARKER, BENNIE PARKER,

  YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HACKETT, and ISAACS unlawfully

  entered the restricted Capitol grounds.

         126.       At 2:31 p.m., PERSON TEN placed a phone call to PERSON ONE, which lasted

  approximately 5 minutes and 25 seconds.

         127.       At 2:32 p.m., KELLY MEGGS placed a phone call to PERSON ONE, which lasted

  approximately 1 minute and 37 seconds.

         128.




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         129.




         130.    At 2:33 p.m., JAMES placed a phone call to PERSON TEN, which lasted

  approximately 49 seconds.

         131.




         132.    At 2:35 p.m., CROWL, WATKINS, SANDRA PARKER, YOUNG, STEELE,

  KELLY MEGGS, CONNIE MEGGS, HACKETT, and ISAACS joined together with others

  known and unknown to form a column or stack of individuals wearing Oath Keepers clothing,

  patches, insignia, and battle gear (the “Stack”). Together, the Stack maneuvered in an organized

  fashion up the steps on the east side of the Capitol—each member keeping at least one hand on the

  shoulder of the other in front of them.

         133.    Towards the top of the steps, HARRELSON and DOLAN joined with the Stack.

         134.    At the top of the steps, the Stack joined and then pushed forward alongside a mob

  that aggressively advanced towards the Columbus Doors at the central east entrance to the Capitol,

  assaulted the officers guarding the doors, threw objects and sprayed chemicals towards the officers

  and the doors, and pulled violently on the doors.




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         135.    At 2:39 p.m., ISAACS joined the crowd in forcibly pushing against one of the

  Columbus Doors and the law enforcement officers guarding that door. Shortly thereafter, the

  Capitol doors were breached by the mob, and ISAACS entered the building.

         136.    Shortly after the mob breached the doors, CROWL, WATKINS, SANDRA

  PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON,

  HACKETT, DOLAN, and the others in the Stack forcibly entered the Capitol.

         137.    As they entered the Capitol, CROWL, WATKINS, SANDRA PARKER, YOUNG,

  STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, HACKETT, DOLAN, and the

  others in the Stack joined the larger mob in pushing past at least one law enforcement officer who

  was trying to stop them from breaching the Capitol building.

         138.    After they penetrated the Capitol building, CROWL, WATKINS, SANDRA

  PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON,

  HACKETT, DOLAN, ISAACS, and the others in the Stack collectively moved into an area inside

  the building known as the Capitol Rotunda.

         139.    As they navigated through the Capitol Rotunda, CROWL, WATKINS, SANDRA

  PARKER, YOUNG, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON,

  HACKETT, DOLAN, ISAACS, and the others in the Stack continued to communicate with one

  another by keeping their hands on each other’s backs.

         140.    At 2:44 p.m., WATKINS stated on the “Stop the Steal J6” Zello channel, “We are

  in the mezzanine. We are in the main dome right now. We are rocking it. They are throwing

  grenades, they are fricking shooting people with paint balls. But we are in here.”




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         141.    An individual who had participated in at least one prior Oath Keeper operation with

  WATKINS responded, “Get it, Jess.           Do your fucking thing.        This is what we fucking

  [unintelligible] up for. Everything we fucking trained for.”

         142.    Shortly thereafter, WATKINS, CROWL, SANDRA PARKER, YOUNG,

  STEELE, and ISAACS exited the Rotunda through the northbound hallway and attempted to enter

  the Senate wing of Congress.

         143.    ISAACS yelled “the fight’s not over” and waved rioters down the hallways towards

  the Senate.

         144.    At 2:45 p.m. and afterward, CROWL, WATKINS, SANDRA PARKER, YOUNG,

  and ISAACS joined the mob in pushing against a line of riot police officers guarding the hallway

  connecting the Rotunda to the Senate, as WATKINS commanded those around her to “push, push,

  push,” and to, “get in there, get in there,” while noting, “they [the officers] can’t hold us.”

         145.    When officers responded by deploying a chemical spray, the mob—including

  CROWL, WATKINS, SANDRA PARKER, YOUNG, and ISAACS—retreated.

         146.    CROWL, WATKINS, SANDRA PARKER, YOUNG, STEELE, and ISAACS

  regrouped in the Rotunda.

         147.    At 2:45 p.m., KELLY MEGGS, CONNIE MEGGS, HARRELSON, HACKETT,

  and DOLAN walked southbound out of the Rotunda and towards the House of Representatives.

         148.    Meanwhile, CALDWELL, who was positioned on the west side of the Capitol,

  joined with PERSON TWO and others known and unknown in storming past barricades and

  climbing stairs up to a balcony on the west side of the Capitol building.

         149.    At 2:48 p.m., CALDWELL sent a message on Facebook, writing, “We are surging

  forward. Doors breached[.]”




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         150.    At 2:54 p.m., HACKETT exited the Capitol.

         151.    At 2:57 p.m., HARRELSON and DOLAN exited the Capitol.

         152.    At 2:59 p.m., KELLY MEGGS and CONNIE MEGGS exited the Capitol.

         153.    At 3:05 p.m., CROWL, WATKINS, SANDRA PARKER, YOUNG, and STEELE

  helped ISAACS out of the Capitol.

         154.




         155.    While entering the Capitol building, MINUTA and JAMES pushed past Capitol

  Police officers who placed their hands on MINUTA and JAMES in an unsuccessful attempt to

  stop them from advancing toward the Capitol Rotunda.

         156.    At 3:17 p.m., when MINUTA and JAMES reached the entrance to the Capitol

  Rotunda, they joined with others in the crowd in a confrontation with a line of law enforcement

  officers that had formed a barrier between the lobby and the Capitol Rotunda. JAMES yanked and

  pushed several of the riot officers out of the way. While engaging in this conduct, JAMES

  repeatedly yelled, “Get out of my Capitol!” and “This is my fucking building! This is not yours!

  This is my Capitol!”

         157.    As he stood behind JAMES while recording the events with a camera, MINUTA

  yelled, “This is what’s bound to happen, just get out! Get out! Get these cops out! It’s our fucking

  building! Get ‘em out, get out!”

         158.    JAMES briefly breached the Rotunda but was expelled by at least one officer who

  aimed chemical spray directly at JAMES, and multiple officers who pushed him out from behind.




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         159.    At 3:19 p.m., while exiting the Capitol building through the same east side Rotunda

  door from which he entered, MINUTA held up two fingers and yelled at a law enforcement officer,

  among other things, “All that’s left is the Second Amendment!”

         160.    At 3:22 p.m., JAMES exited the Capitol through the east side Rotunda door from

  which he entered.

         161.



         162.    At 3:40 p.m., JAMES placed a phone call to PERSON TEN, which lasted

  approximately 3 minutes and 4 seconds.

         163.    At 4:04 p.m., MINUTA placed a phone call to PERSON ONE, which lasted

  approximately 42 seconds.

         164.    At 4:05 p.m., PERSON ONE placed a phone call to MINUTA, which lasted

  approximately 2 minutes and 56 seconds.

         165.    Shortly after 4:00 p.m., individuals who breached the Capitol, to include YOUNG,

  STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, MINUTA, JAMES,

  HACKETT, DOLAN, and ISAACS, among others, gathered together with PERSON ONE and

  PERSON TEN approximately 100 feet from the Capitol, near the northeast corner of the building.

                      (In violation of Title 18, United States Code, Section 371)

                                          COUNT TWO
             (18 U.S.C. §§ 1512(c)(2), 2—Obstruction of an Official Proceeding and
                                       Aiding and Abetting)

         166.    Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein. As set forth in paragraphs 35 through 165, on

  or about January 6, 2021, in the District of Columbia and elsewhere, the defendants,



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                                      THOMAS CALDWELL,
                                       DONOVAN CROWL,
                                       JESSICA WATKINS,
                                        SANDRA PARKER,
                                        BENNIE PARKER,
                                       GRAYDON YOUNG,
                                         LAURA STEELE,
                                         KELLY MEGGS,
                                         CONNIE MEGGS,
                                     KENNETH HARRELSON,
                                       ROBERTO MINUTA,
                                         JOSHUA JAMES,
                                                        ,
                                       JOSEPH HACKETT,
                                       JASON DOLAN, and
                                        WILLIAM ISAACS,

  attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the

  Certification of the Electoral College vote, and did aid and abet others known and unknown to do

  the same.

                (In violation of Title 18, United States Code, Sections 1512(c)(2), 2)


                                     COUNT THREE
    (18 U.S.C. §§ 1361, 2—Destruction of Government Property and Aiding and Abetting)

         167.    Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein.

         168.    As set forth in paragraphs 134 through 137 and paragraphs 142 through 145, on

  January 6, 2021, in the District of Columbia and elsewhere, the defendants,

                                       DONOVAN CROWL,
                                       JESSICA WATKINS,
                                        SANDRA PARKER,
                                       GRAYDON YOUNG,
                                         LAURA STEELE,
                                         KELLY MEGGS,
                                         CONNIE MEGGS,
                                     KENNETH HARRELSON,
                                       JOSEPH HACKETT,



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                                       JASON DOLAN, and
                                       WILLIAM ISAACS,

  attempted to, and did, willfully injure and commit depredation against property of the United

  States, that is, the United States Capitol building, thereby causing or attempting to cause damage

  that exceeded $1,000, and did aid and abet others known and unknown to do so.

                   (In violation of Title 18, United States Code, Sections 1361, 2)


                                         COUNT FOUR
                    (18 U.S.C. § 1752(a)(1)—Restricted Building or Grounds)

         169.    Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein.

         170.    As set forth in paragraphs 125, 136 to 137, 148 to 149, and 154 to 155, on or about

  January 6, 2021, in the District of Columbia and elsewhere, the defendants,

                                     THOMAS CALDWELL,
                                      DONOVAN CROWL,
                                      JESSICA WATKINS,
                                       SANDRA PARKER,
                                       BENNIE PARKER,
                                      GRAYDON YOUNG,
                                        LAURA STEELE,
                                        KELLY MEGGS,
                                        CONNIE MEGGS,
                                    KENNETH HARRELSON,
                                      ROBERTO MINUTA,
                                        JOSHUA JAMES,
                                                       ,
                                      JOSEPH HACKETT,
                                      JASON DOLAN, and
                                       WILLIAM ISAACS,




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  did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

  off, or otherwise restricted area within the United States Capitol and its grounds, where the Vice

  President and Vice President-elect were temporarily visiting, without lawful authority to do so.

                   (In violation of Title 18, United States Code, Section 1752(a)(1))



                                           COUNT FIVE
                (18 U.S.C. §§ 231(a)(3), 2—Civil Disorder and Aiding and Abetting)
         171.     Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein.

         172.     As set forth in paragraph 135, on or about January 6, 2021, within the District of

  Columbia, the defendant,

                                          WILLIAM ISAACS,

  committed and attempted to commit an act to obstruct, impede, and interfere with a law

  enforcement officer, that is, U.S. Capitol Police Officer M.C., while Officer M.C. was lawfully

  engaged in the lawful performance of his official duties incident to and during the commission of

  a civil disorder, and the civil disorder obstructed, delayed, and adversely affected the conduct and

  performance of a federally protected function.

                  (In violation of Title 18, United States Code, Sections 231(a)(3), 2)


                                           COUNT SIX
                (18 U.S.C. §§ 231(a)(3), 2—Civil Disorder and Aiding and Abetting)
         173.     Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein.

         174.     As set forth in paragraphs 142 through 145, on or about January 6, 2021, within the

  District of Columbia, the defendants,




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                                       JESSICA WATKINS,
                                       DONOVAN CROWL,
                                        SANDRA PARKER,
                                      GRAYDON YOUNG, and
                                        WILLIAM ISAACS,

  committed and attempted to commit an act to obstruct, impede, and interfere with a law

  enforcement officer, that is, law enforcement officers guarding the hallway between the Capitol

  Rotunda and Senate chamber, while those officers were lawfully engaged in the lawful

  performance of their official duties incident to and during the commission of a civil disorder, and

  the civil disorder obstructed, delayed, and adversely affected the conduct and performance of a

  federally protected function.

                  (In violation of Title 18, United States Code, Sections 231(a)(3), 2)


                                          COUNT SEVEN
                (18 U.S.C. §§ 231(a)(3), 2—Civil Disorder and Aiding and Abetting)
         175.     Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein.

         176.     As set forth in paragraphs 156 and 158, on or about January 6, 2021, within the

  District of Columbia, the defendant,

                                          JOSHUA JAMES,

  committed and attempted to commit an act to obstruct, impede, and interfere with a law

  enforcement officer, that is, law enforcement officers in the Capitol Rotunda, while those officers

  were lawfully engaged in the lawful performance of their official duties incident to and during the

  commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected

  the conduct and performance of a federally protected function.

                  (In violation of Title 18, United States Code, Sections 231(a)(3), 2)




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                                      COUNT EIGHT
          (18 U.S.C. § 111(a)(1)—Assaulting, Resisting, or Impeding Certain Officers)

         177.      Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein.

         178.      As set forth in paragraphs 156 and 158, on or about January 6, 2021, within the

  District of Columbia, the defendant,

                                          JOSHUA JAMES,

  did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer with the

  District of Columbia Metropolitan Police Department who was assisting officers and employees

  of the United States while such persons were engaged in and on account of the performance of

  official duties, and where the acts in violation of this section involved physical contact with the

  victim and the intent to commit another felony, namely, Count Two, charging Obstruction of an

  Official Proceeding and Aiding and Abetting, in violation of Title 18, United States Code, Sections

  1512(c)(2), 2.

                    (In violation of Title 18, United States Code, Section 111(a)(1))


                                          COUNT NINE
                (18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

         179.      Paragraphs 1 through 30 and paragraphs 35 through 165 of this Indictment are re-

  alleged and incorporated as though set forth herein.

         180.      On January 6, 2021, the Federal Bureau of Investigation (“FBI”) opened an

  investigation into the attack on the Capitol, and a grand jury of the United States District Court for

  the District of Columbia subsequently opened an investigation.

         181.      On January 8, 2021, in response to a request from CROWL for a video,

  CALDWELL sent the video, and subsequently unsent the message containing the video.



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         182.    Between January 6, 2021, and January 19, 2021, CALDWELL deleted photographs

  from his Facebook account that documented his participation in the attack on the Capitol on

  January 6, 2021.

         183.    Between January 6, 2021, and January 19, 2021, in the District of Columbia and

  elsewhere, the defendant,

                                     THOMAS CALDWELL,

  did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

  attempted to do so, with the intent to impair its integrity and availability for use in an official

  proceeding, that is, the FBI investigation and the grand jury investigation into the attack on the

  Capitol on January 6, 2021.

                  (In violation of Title 18, United States Code, Section 1512(c)(1))


                                        COUNT TEN
              (18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

         184.    Paragraphs 1 through 30, paragraphs 35 through 165, and paragraph 180 of this

  Indictment are re-alleged and incorporated as though set forth herein.

         185.    On January 8, 2021, YOUNG deleted his Facebook account.

         186.    On January 8, 2021, in the District of Columbia and elsewhere, the defendant,

                                       GRAYDON YOUNG,

  did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

  attempted to do so, with the intent to impair its integrity and availability for use in an official

  proceeding, that is, the FBI investigation and the grand jury investigation into the attack on the

  Capitol on January 6, 2021.

                  (In violation of Title 18, United States Code, Section 1512(c)(1))




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                                        COUNT ELEVEN
                (18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

            187.    Paragraphs 1 through 30, paragraphs 35 through 165, and paragraph 180 of this

  Indictment are re-alleged and incorporated as though set forth herein.

            188.    Sometime after January 7, 2021, KELLY MEGGS deleted from his cellular

  telephone certain media, files, and communications that showed his involvement in the offenses

  alleged herein.

            189.    On or around January 7, 2021, in the District of Columbia and elsewhere, the

  defendant,

                                            KELLY MEGGS,

  did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

  attempted to do so, with the intent to impair its integrity and availability for use in an official

  proceeding, that is, the FBI investigation and the grand jury investigation into the attack on the

  Capitol on January 6, 2021.

                     (In violation of Title 18, United States Code, Section 1512(c)(1))


                                        COUNT TWELVE
                (18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

            190.    Paragraphs 1 through 30, paragraphs 35 through 165, and paragraph 180 of this

  Indictment are re-alleged and incorporated as though set forth herein.

            191.    Sometime after January 7, 2021, HARRELSON deleted from his cellular telephone

  certain media, files, and communications that showed his involvement in the offenses alleged

  herein.

            192.    On or around January 7, 2021, in the District of Columbia and elsewhere, the

  defendant,



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                                    KENNETH HARRELSON,

  did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

  attempted to do so, with the intent to impair its integrity and availability for use in an official

  proceeding, that is, the FBI investigation and the grand jury investigation into the attack on the

  Capitol on January 6, 2021.

                  (In violation of Title 18, United States Code, Section 1512(c)(1))


                                       COUNT THIRTEEN
               (18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

         193.    Paragraphs 1 through 30, paragraphs 35 through 165, and paragraph 180 of this

  Indictment are re-alleged and incorporated as though set forth herein.

         194.    Sometime after January 7, 2021, JAMES deleted from his cellular telephone the

  Leadership Signal Chat.

         195.    On January 8, 2021, JAMES instructed PERSON FIFTEEN to “make sure that all

  signal comms about the op has been deleted and burned,” and PERSON FIFTEEN confirmed

  PERSON FIFTEEN did in fact do so.

         196.    On or around January 7-8, 2021, in the District of Columbia and elsewhere, the

  defendant,

                                         JOSHUA JAMES,

  did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

  attempted to do so, with the intent to impair its integrity and availability for use in an official

  proceeding, that is, the FBI investigation and the grand jury investigation into the attack on the

  Capitol on January 6, 2021.

                  (In violation of Title 18, United States Code, Section 1512(c)(1))




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                                            A TRUE BILL




                                            FOREPERSON




  CHANNING D. PHILLIPS
  ACTING ATTORNEY FOR THE UNITED STATES
  IN AND FOR THE DISTRICT OF COLUMBIA




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AO 442 (R.v.   lull)   Ancil Wr,'!nt



                                          UNrrso Srerrs Drsrzucr Counr
                                                                for the

                                                          District of Columbia


                   United Stalcs of Amcrica
                                                                  )         Case: 1 :21 -cr-00028
                                                                  )         Assigned To : Judge Amit P, Mehta
                           JASON OOLAN                            )
                                                                            Assign, Date : 512612021
                                                                  )
                                                                  )
                                                                            Description: SUPERSEDING INDICTMENT (B)
                                                                  )         Related Case: 21 -cr-28 {APM)
                              D.l.ndant


                                                        ARRESTWARRANT
To:      Any authorized law enforcement ollicer

         YOU ARE COMMANDED to arrest and bring before                 a   United States magisrate judgc without unneccssary dclay
(nan ofpian      to be   arrett.d)     JASON OOLAN
who is accused ofan offcme or violalion bascd on the following documcnl filcd with the coun:

O lndictmcnt d Superseding Indictment O Information Ct Superseding Information O Complsint
O Probslion violation Petition O Supervised Release Violstion Petition Ct Violation Notice O Order ofthe Court
This offense is briefly described as follows:

  18 U.S.C. S 371 (Conspiracy): 18 U.S.C. SS 1512(cX2), 2 (Obstrudion ofan Offtial Proceeding and Aiding and Abetling);
  18 U.S.C. SS 1361, 2 (Oestruclion of Gov8mment Property and Aiding and Abetting); 18 U.S.C. S 1752(a)(1)
  (Entering and Remaining in a Restric{ed Building or Grounds)


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city 8nd stste: washington, o.c.                                            Robin M. Medweather, United States Magistrale Judge
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